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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


  UNITED STATES OF AMERICA,                )
                                           )
  Plaintiff/Respondent,                    )
                                           )
  vs.                                      )     NO. 2:09-cr-43
                                           )         2:13-cv-396
                                           )
  JUSTIN PHILLIP CEPHUS,                   )
                                           )
  Defendant/Petitioner.                    )

                             OPINION AND ORDER
          This matter is before the Court on the: (1) “Motion to Vacate,

  Set Aside, or Correct Sentence by a Person in Federal Custody,”

  filed by Petitioner, Justin Phillip Cephus, on November 5, 2013 (DE

  #494); (2) “Motion to Recuse Judge for Misconduct Motion to Vacate

  Order of Encumbrance Motion to Stay 2255-Extension to File,” filed

  by Petitioner, Justin Phillip Cephus, on June 30, 2014 (DE #567);

  (3) “Motion For Judicial Intervention Jury Tampering - Obstruction

  of Justice,” filed by Petitioner, Justin Phillip Cephus, on August

  18, 2014 (DE #576 and in civil case no. 2:13-cv-396 DE #18); and

  (4) “Motion for Judicial Intervention Jury Tampering - Obstruction

  of    Justice,”   filed   by   Petitioner,   Justin   Phillip     Cephus,    on

  September 8, 2014 (DE #580 and in civil case no. 2:13-cv-396 DE

  #19).     For the reasons set forth below, the motion to recuse (DE

  #567), and motions for judicial intervention (DE #576 and DE #580)

  are DENIED.       The section 2255 motion (DE #494) is also DENIED.
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  Cephus’ request for an evidentiary hearing (DE #512, p. 11), is

  also DENIED.    Cephus’ request for appointment of counsel (DE #569,

  p. 6) is DENIED.    The Clerk is ORDERED to DISMISS this civil action

  WITH PREJUDICE.      Additionally, the Court DECLINES to issue a

  certificate of appealability.         The Clerk is FURTHER ORDERED to

  distribute a copy of this order to Petitioner (Inmate Reg. No.

  10106-27), Tucson USP, US Penitentiary, Inmate Mail/Parcels P.O.

  Box 24550, Tucson, Arizona 85734, or to such other more current

  address that may be on file for the Petitioner.



  BACKGROUND

        On July 2, 2009, Justin Cephus (“Cephus”) was charged with

  four co-defendants in a superseding indictment (DE #35).               Cephus

  was charged with: Count 1 - conspiracy under 18 U.S.C. § 371 to

  commit various violations of 18 U.S.C. §§ 2, 1591(a)(1), (b)(2),

  2421, and 2423(a); in Counts 4, 6, 8, 10, 12, 14, 16 and 18 -

  substantive violations of 18 U.S.C. § 1591(a)(1) and (b)(1) for his

  role in recruiting, enticing, harboring, transporting, providing,

  and obtaining victims A.C., A.H., A.W., B.G., C.V., J.O., L.G., and

  S.K., knowing that force, fraud, or coercion would be used to cause

  them to engage in commercial sex acts; in Counts 5, 7, 9, 11, 13,

  15, 17, 19, 20, and 21, with substantive violations of 18 U.S.C. §§

  2, 2421, for his role in transporting victims A.C., A.H., A.W.,

  B.G., C.V., J.O., L.G., S.K., A.B.3, and L.E. in interstate


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  commerce with intent that they engage in prostitution; and Counts

  2 and 3 for violation of 18 U.S.C. §§ 2, 2423(a), and 2423(e), for

  his   role   in   transporting   minor       victims   A.B.1   and       A.B.2   in

  interstate commerce with intent that they engage in prostitution.

  (DE #35.)

        Following a ten-day jury trial, Cephus was found guilty of all

  charges against him.      (DE #203.)       At trial, Cephus was represented

  by attorney Visvaldis Kupsis. On December 6, 2010, this Court held

  a sentencing hearing for Cephus, and he was sentenced to: 60 months

  for Count 1; 120 months for each of Counts 5, 7, 9, 11, 13, 15, 17,

  19, 20, and 21; and life imprisonment for each of Counts 2, 3, 4,

  6, 8, 10, 12, 14, 16 and 18, all terms to be served concurrently.

  (DE #338.)    Judgment was entered on December 8, 2010.              (DE #344.)

        Through appointed appellate counsel, Martin J. Vogelbaum,

  Cephus filed a direct appeal with the Seventh Circuit on December

  9, 2010 (DE #340, 373).       On appeal, Cephus raised the following

  arguments:    (1)   The   Government’s       “incessant    leading”       of     its

  witnesses amounted to credibility vouching, violating Defendant’s

  rights to confrontation and due process; (2) this Court improperly

  excluded evidence of a victim’s prior sexual behavior under Federal

  Rule of Evidence 412; (3) Defendant was unfairly prejudiced by the

  admission of evidence that he had beaten and hung to death a dog

  and by the use of his “mug shot” in a witness identification; (4)

  this Court erred by allowing a superseding indictment that was


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  duplicitous as to every count; and (5) Defendant’s life sentence

  without parole violated the Eighth Amendment prohibition against

  cruel and unusual punishment.         See United States v. Cephus, 684

  F.3d 703 (7th Cir. 2012), cert. denied, 133 S. Ct. 588 (Nov. 5,

  2012).   The Seventh Circuit rejected all of Cephus’ arguments.

        In response to Cephus’ arguments that the prosecution asked

  too many leading questions, the Seventh Circuit found some of those

  questions were leading and some were not, but regardless, “the

  leading questions in this case could not have affected the verdict

  of a reasonable jury, given the overwhelming evidence of the

  defendants’ guilt.” (Id. at 708.) Regarding the Rule 412 evidence

  Defendant sought to offer that the victim engaged in other sexual

  behavior, the Court found that “testimony sought to be elicited by

  the cross-examination would have been irrelevant.”           Id.       Likewise,

  admission of evidence that Cephus beat and hung a dog was affirmed

  because it was “relevant to show a method by which Cephus coerced

  his recruits into obeying his illegal commands and was not unduly

  prejudicial in light of the extensive evidence that Cephus beat

  women who worked for him.” (Id. at 709.)             Similarly, the Court

  found no error in allowing a head and shoulders photograph of

  Cephus, which was never identified for the jury as a “mug shot,” to

  be used for a witness identification.        (Id. at 709.)

        Regarding the allegedly “duplicitous” indictment, the Seventh

  Circuit found defendants waived the issue for not having brought it


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  up in district court and “[a]nyway none of the counts was likely to

  be thought duplicitous by the jurors.”             (Id. at 706.)           Although

  Counts 2-21 incorporated by reference the allegations in Count 1,

  “[a]        normal   reader   would   understand   each   subsequent       count’s

  invocation of the first count to mean that the substantive offense

  alleged . . . in the subsequent count was one of the offenses the

  defendants had conspired to commit.”                Id.      Finally, Cephus’

  contention that his life sentence violated the cruel and unusual

  punishment clause of the Eighth Amendment was rejected.                    (Id. at

  709.)       The United States Supreme Court denied Cephus’ petition for

  writ of certiorari.           Cephus v. United States, 133 S. Ct. 588 (Nov.

  5, 2012).

          Cephus filed the instant motion to vacate his sentence under

  section 2255 on November 5, 2013 (DE #494).                     He received an

  extension of time to file his memorandum in support, and filed the

  brief on January 13, 2014 (DE #512). The Government filed a

  response on June 11, 2014 (DE #564).           Cephus then filed a reply on

  July 7, 2014 (DE #569).1           As such, this motion is fully briefed,

  and ripe for adjudication.

          In addition to the current section 2255 Petition, Cephus has

  filed additional related motions.            On June 30, 2014, he filed a


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        In his reply memorandum, Cephus also made the argument that
  a juror at trial knew him through a former girlfriend with whom
  he had “domestic squabbles” with, thus he was denied an impartial
  judge and jury. (DE #569, p. 2.)

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  “Motion to Recuse Judge for Misconduct” (DE #567); on August 18,

  2014, he filed a “Motion for Judicial Intervention Jury Tampering -

  Obstruction of Justice” (DE #576); and on September 8, 2014, he

  filed another “Motion for Judicial Intervention Jury Tampering -

  Obstruction of Justice” (DE #580).              These motions all relate to

  Cephus’ claim that when he was reviewing his file, he discovered

  new information - that he actually knew a member of the jury (whom

  he allegedly did not recognize during trial), and that the juror

  knew his “former girlfriend that [he] had a ‘violent domestic

  incident’ with.” (DE #576, pp. 2-3.) These motions have also been

  fully briefed and will be addressed and ruled upon in this order as

  well.



  DISCUSSION

          Habeas corpus relief under 28 U.S.C. section 2255 is reserved

  for "extraordinary situations."            Prewitt v. United States, 83 F.3d

  812, 816 (7th Cir. 1996).          In order to proceed on a habeas corpus

  petition pursuant to 28 U.S.C. section 2255, a federal prisoner

  must show that the district court sentenced him in violation of the

  Constitution or laws of the United States, or that the sentence was

  in excess of the maximum authorized by law, or is otherwise subject

  to collateral attack.        Id.

          A   section   2255   motion   is    neither   a   substitute       for   nor

  recapitulation of a direct appeal.            Id.; Belford v. United States,


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  975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds by

  Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                        As a

  result:

             [T]here are three types of issues that a
             section 2255 motion cannot raise: (1) issues
             that were raised on direct appeal, absent a
             showing    of   changed    circumstances;  (2)
             nonconstitutional issues that could have been
             but were not raised on direct appeal; and (3)
             constitutional issues that were not raised on
             direct appeal, unless the section 2255
             petitioner    demonstrates    cause   for  the
             procedural default as well as actual prejudice
             from the failure to appeal.

  Belford, 975 F.2d at 313.      Additionally, aside from demonstrating

  "cause" and "prejudice" from the failure to raise constitutional

  errors    on   direct   appeal,       a       section    2255   petitioner         may

  alternatively pursue such errors after demonstrating that the

  district court's refusal to consider the claims would lead to a

  fundamental miscarriage of justice.              McCleese v. United States, 75

  F.3d 1174, 1177 (7th Cir. 1996).

        In assessing Petitioner's motion, the Court is mindful of the

  well-settled    principle    that,            when   interpreting      a    pro     se

  petitioner's complaint or section 2255 motion, district courts have

  a "special responsibility" to construe such pleadings liberally.

  Donald v. Cook Cnty. Sheriff's Dep't, 95 F.3d 548, 555 (7th Cir.

  1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a "pro se

  complaint, 'however inartfully pleaded' must be held to 'less

  stringent standards than formal pleadings drafted by lawyers'")


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  (quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279

  F.3d 742, 746 (9th Cir. 2002) ("pro se habeas petitioners are to be

  afforded 'the benefit of any doubt'") (quoting Bretz v. Kelman, 773

  F.2d 1026, 1027 n.1 (9th Cir. 1985)).        In other words:

             The mandated liberal construction afforded to
             pro se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail,
             it should do so despite the [petitioner's]
             failure to cite proper legal authority, his
             confusion of various legal theories, his poor
             syntax and sentence construction, or his
             unfamiliarity with pleading requirements."

  Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

  petition from state court conviction) (alterations in original)

  (quoting Hall    v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

  On the other hand, "a district court should not 'assume the role of

  advocate for the pro se litigant' and may 'not rewrite a petition

  to include claims that were never presented.'"             Id.        Here, the

  Court assessed Cephus’ claims with these guidelines in mind.



  Section 2255 Petition

        Cephus    contends    that      his   trial    attorney          provided

  constitutionally ineffective assistance of counsel.                   Claims of

  ineffective assistance of counsel are governed by the 2-pronged

  test set forth in Strickland v. Washington, 466 U.S. 668 (1984).

  To prevail on an ineffective assistance of counsel claim, the

  Defendant must first show the specific acts or omissions of his


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  attorney "fell below an objective standard of reasonableness" and

  were     "outside         the    wide     range       of     professionally           competent

  assistance."        Barker v. United States, 7 F.3d 629, 633 (7th Cir.

  1993) (quoting Strickland, 466 U.S. at 690); see also Hardamon v.

  United States, 319 F.3d 943, 948 (7th Cir. 2003); Anderson v.

  Sternes,      243    F.3d       1049,    1057       (7th    Cir.    2001).       The     second

  Strickland prong requires the Defendant to show prejudice, which

  entails    showing         by    "a     reasonable         probability     that,       but   for

  counsel's unprofessional errors, the result of the proceeding would

  have been different."             Strickland,          466 U.S. at 694.

          Regarding the deficient-performance prong, great deference is

  given to counsel's performance and the defendant has a heavy burden

  to   overcome       the    strong       presumption         of    effective    performance.

  Strickland, 466 U.S. at 690; Coleman v. United States, 318 F.3d

  754, 758 (7th Cir. 2003) (defendant “has a difficult burden of

  proof    as   he     must       overcome    the       strong       presumption        that   his

  attorney’s performance was effective.”).                         Defendant must establish

  specific acts or omissions that fell below professional norms.

  Strickland, 466 U.S. at 690.                If one prong is not satisfied, it is

  unnecessary to reach the merits of the second prong.                            Id. at 697.

          The Seventh Circuit has held that, “[o]nly those habeas

  petitioners who can prove under Strickland that they have been

  denied a fair trial by the gross incompetence of their attorneys

  will be granted the writ.”                 Rodriguez v. United States, 286 F.3d


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 972, 983 (7th Cir. 2002) (quoting Kimmelman v. Morrison, 47 U.S.

 365, 382 (1986)).       Additionally, trial counsel “is entitled to a

 ‘strong presumption’ that his performance fell ‘within the range of

 reasonable professional assistance’ and will not be judged with the

 benefit of hindsight.’”      Almonacid v. United States, 476 F.3d 518,

 521 (7th Cir. 2007) (citing Strickland, 466 U.S. at 689).                 “Courts

 are admonished not to become ‘Monday morning quaterback[s]’ in

 evaluating counsel’s performance.”            Blake v. United States, 723

 F.3d 870, 879 (7th Cir. 2013) (quoting Harris v. Reed, 894 F.2d

 871, 877 (7th Cir. 1990)).

       Alleged Duplicitous Indictment

       First,   Cephus    argues   that      “[t]rial    counsel   allowed     the

 petitioner to be tried on a Duplicitous Indictment, where he never

 objected to and because of such the claim being waived.” (DE #512,

 p. 4.)    It is true that the Seventh Circuit deemed the argument

 waived on appeal, but the Court still addressed it, and found that:

             [N]one of the counts was likely to be thought
             duplicitous by the jurors. The first alleged the
             conspiracy and described as acts in furtherance of
             it the acts charged as substantive violations in
             the 20 subsequent counts.    Each of those counts
             first ‘incorporate by reference’ the allegations in
             the first count and then alleged a substantive
             violation of the federal criminal code. Only if
             read literally would each count be alleging two
             offenses: conspiracy and a substantive offense. No
             reasonable person would read them literally. None
             of them mentions conspiracy. A normal reader would
             understand each subsequent count’s invocation of
             the first count to mean that the substantive
             offense alleged (identified in the count by the
             section of the federal criminal code that created

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              the offense) in the subsequent count was one of the
              offenses the defendants had conspired to commit.
              The jury was instructed that a ‘verdict of guilty
              or not guilty of an offense charged in one count
              should not control your decision as to that
              defendant in any other count.’ A reasonable juror
              would not understand this to mean that having
              decided that the defendants were guilty of count
              one he would have to decide they were guilty of the
              other 20 counts as well because each of those
              counts mentioned the charge of conspiracy. So much
              for duplicity.

 Cephus, 684 F.3d at 706.

       As   such,   Cephus   has   not    satisfied   either     prong     of   the

 Strickland test - he cannot show that trial counsel provided

 ineffective assistance by failing to object to the indictment

 language, and he cannot establish that the outcome would have been

 different had the objection been made.



       Alleged Multiplicitous Indictment

       Next, Cephus argues that trial counsel provided ineffective

 assistance by not arguing that the superseding indictment was

 multiplicitous, which he claims resulted in a double jeopardy

 violation.      (DE #512, p. 6.)             The Seventh Circuit explained

 multiplicitous indictments in United States v. Starks, 472 F.3d 466

 (7th Cir. 2006):

              Multiplicity is the charging of a single offense in
              separate counts of an indictment. Multiplicity in
              an indictment exposes a defendant to the threat of
              receiving multiple punishments for the same offense
              in violation of the Double Jeopardy Clause of the
              Fifth Amendment.       The traditional test of
              multiplicity determines whether each count requires

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              proof of a fact which the other does not. If one
              element is required to prove the offense in one
              count which is not required to prove the offense in
              the second count, there is no multiplicity.

 Id. at 468-69 (internal quotations and citations omitted).                  “The

 cardinal rule for reading multi-count indictments is that each

 count must stand on its own two feet; each count is regarded as if

 it was a separate indictment.”         United States v. Conley, 291 F.3d

 464,   471   (7th   Cir.   2002)   (internal   quotations      and   citations

 omitted).

        In this case, Cephus does not identify which counts of the

 superseding indictment are allegedly multiplicitous. The Court has

 reviewed the superseding indictment, and it is proper.               Counts 4,

 6, 8, 10, 12, 14, 16, and 18 all charge Cephus with violating 18

 U.S.C. §§ 2 and 1591(a)(1) and (b)(2); however, each count makes

 the allegation as to a different individual who is specifically

 identified in each count as the victim.           The same is true of the

 other counts (Counts 2 and 3 allege violations of 18 U.S.C. §§ 2

 and 2423(a) and (e) and Counts 5, 7, 9, 11, 13, 15, 17, 19, 20, and

 21, allege violations of 18 U.S.C. §§ 2 and 2421), which allege

 violations of statutory provisions as to specific victims.               No two

 counts in the superseding indictment charge Cephus with committing

 the exact same criminal offense against the same victim.                    “The

 Double Jeopardy Clause is not implicated when multiple separate

 violations of the same provision are charged in multiple counts.”

 United States v. Snyder, 189 F.3d 640, 647 (7th Cir. 1999).

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         While Cephus suggests the allegations were all part of the

 same general “crime spree,” (DE #512, p. 10), and that the charges

 should have been brought in a single count, Count 1 does allege a

 conspiracy under 18 U.S.C. § 371, and the other counts violations

 of 18 U.S.C. §§ 1591, 2421, and 2423(a).         The Court finds there was

 nothing at all improper about the Government alleging both a

 conspiracy under section 371 and the substantive violations that

 were the overt acts of that conspiracy.          Indeed, the commission of

 a substantive offense and conspiring to commit that offense are two

 separate crimes.     As the Seventh Circuit explained:

             A complete answer to defendant’s averment of double
             jeopardy is found in Pinkerton v. United States,
             328 U.S. 640 (1946), in which the Supreme Court
             held that conspiracy to commit a substantive
             offense and the actual commission of such offense
             are separate and distinct offenses, and that a plea
             of double jeopardy is of no avail.     We need not
             repeat what the Court there said, except to quote
             from its opinion, 328 U.S. at 644: ‘Moreover, it is
             not material that overt acts charged in the
             conspiracy counts were also charged and proved as
             substantive offenses. . . If the overt act be the
             offense which was the object of the conspiracy, and
             is also punished, there is not a double punishment
             of it. The agreement to do an unlawful act is even
             then distinct from the doing of the act.’


 Bocock v. United States, 216 F.2d 465, 466 (7th Cir. 1954).                   The

 Court    finds   that   Cephus   has    failed   to     establish     that    the

 superseding indictment was multiplicitous or that Cephus’ trial

 counsel provided constitutionally ineffective assistance of counsel

 for failing to raise such a claim with this Court.


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       Failure To Move For Severance

       Cephus next argues that his counsel was ineffective because he

 failed to move for a severance from his co-defendants. The Seventh

 Circuit has stated there is a “strong public interest” in having

 persons “jointly indicted tried together.” United States v. Neely,

 980 F.2d 1074, 1090 (7th Cir. 1992) (quoting United States v.

 Percival, 756 F.2d 600, 610 (7th Cir. 1985)).            That is especially

 true in cases where multiple defendants are charged with engaging

 in a common enterprise.     See United States v. Buljubasic, 808 F.2d

 1260, 1263 (7th Cir. 1987) (“[t]here is a strong interest in joint

 trials for those who engaged in a common enterprise.”).                   Joint

 trials are economical for the courts and prosecutors, reduce the

 stress on witnesses, and “give[] the jury the best perspective on

 all of the evidence and therefore increase[] the likelihood of a

 correct outcome.”     Id.   Cephus has not shown that if he made this

 motion, it likely would have been granted and would have changed

 the outcome of the trial.     See, e.g., United States v. Jackson, 33

 F.3d 866, 875-76 (7th Cir. 1994) (denying claim of ineffective

 assistance of counsel where counsel failed to make a severance

 motion, reasoning it could have been a tactical decision, and that

 in any event, “we think it highly unlikely that a motion for

 severance would have been granted.”). Moreover, as in Jackson, the

 Court notes that this Court did admonish the jury that it was

 obligated to separately consider each defendant. (DE #214, p. 20.)


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 Thus, the Court cannot say that failure to seek a severance

 resulted in a different result of the proceedings.

       To the extent that Cephus points to specific testimony that he

 believes the jury should not have heard, and was highly prejudicial

 to him, his argument still fails.             (DE #512, p. 7.)        Cephus points

 out that his co-defendant brother, Stanton Cephus, testified that

 “he had just helped out his brother from time to time motivated by

 family loyalty, and [] he watched his brother beat prostitutes and

 he would drive them to meet their calls.”                   (Id.)     In Bruton v.

 United     States,   391    U.S.   123    (1968),     the     Court    held      “that

 introducing a nontestifying codefendant’s out-of-court confession

 violates    the   Confrontation     Clause      if   the    confession        directly

 incriminates the defendant on trial.” Thomas v. United States, 530

 Fed. Appx. 584, 586 (7th Cir. 2013) (citing Bruton, 391 U.S. at

 127-28).     However,      “It is clear that a redacted confession of a

 nontestifying co-defendant may be admitted as long as the redaction

 does not ‘obviously’ refer to the defendant.”                   United States v.

 Green, 648 F.3d 569, 575 (7th Cir. 2011).

       In this case, Stanton Cephus’ confession (Justin Cephus’

 brother) was redacted to remove reference to Justin Cephus or his

 “brother.”    The redacted statement was read aloud to the jury but

 not admitted into evidence and reads as follows (“Cephus” refers to

 the declarant, Stanton Cephus):

              Cephus stated that females are constantly staying
              at the house. Cephus stated that he was doing a

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             favor tonight when a person called him and asked
             him to bring some girls to a call. Cephus stated
             that he has driven girls in the past, however, it
             isn’t something he normally does. Cephus has never
             been paid to drive girls around.     Cephus stated
             that this other person has been running an escort
             business for some time. A girl named Loh, known to
             law enforcement as S.K., started in the escort
             business with this other person and then left him.
             Cephus stated that this other person runs the
             business now along with that Ashley girl, known to
             law enforcement as C.V. Ashley took Loh’s spot.
             This other person used to beat Loh up real bad and
             he used to do it a lot. Cephus stated that he feels
             like he cannot turn on this other person, but he
             knows what he is doing is wrong.     Cephus stated
             that at times he feels obligated to give the girls
             rides when this other person calls him, but he
             knows he shouldn’t.       Cephus stated that his
             girlfriend, N.C., who resides in Gary, Indiana,
             gets really upset when he even goes over to this
             other person’s house.      Cephus stated that he
             doesn’t know how he is involved in this now, and
             this is bullshit. What this other person does is
             wrong. He beats up women. Cephus admitted that
             this other person is a pimp.     Cephus identified
             cellular telephone number . . . and . . . . Cephus
             also identified the following additional telephone
             numbers: . . . .


 (DE #564-1, Govt. Ex. A, Tr. Tran. Vol. VIII, pp. 1886-888.)

 Additionally, this Court gave Jury Instruction No. 10 to the jury:

             You have received evidence of statements said to be
             made by defendants. You must decide whether the
             defendants did in fact make the statements. If you
             find that the defendants did make the statements,
             then you must decide what weight, if any, you feel
             the statements deserve. In making this decision,
             you should consider all matters in evidence having
             to do with the statements, including those
             concerning the defendants and the circumstances
             under which the statements were made. You may not
             consider this statement as evidence against any
             defendant other than the one who made it.


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 (DE #214, p. 11.)      In this case, the altered statement did not

 incriminate the nontestifying defendant, Justin Cephus, by itself,

 and the Court does not believe there was any Bruton violation.                  See

 United States v. Strickland, 935 F.2d 822, 826 (7th Cir. 1991)

 (finding “the replacement of [co-defendants’] names with references

 such as ‘another person,’ combined with an instruction to consider

 the confession against only the declarant, satisfies Bruton.”);

 United States v. Gio, 7 F.3d 1279, 1287 (7th Cir. 1993) (finding

 district court did not err in allowing into evidence redacted

 statement combined with a limiting instruction to the jury).



       Appellate Counsel

       Cephus also contends in his section 2255 Petition that he

 received ineffective assistance of appellate counsel because his

 appellate counsel failed to raise each of the above referenced

 arguments in the direct appeal.         (DE #494, pp. 7-8, 10.)            However,

 the Seventh Circuit has explained that ineffective assistance of

 counsel claims should not be raised on direct appeal, but rather in

 petitions under 28 U.S.C. § 2255.           See United States v. Wilson, 240

 Fed. Appx. 139, 143 (7th Cir. 2007) (quoting Massaro v. United

 States, 538 U.S. 500 (2003), explaining “it is better to present an

 ineffective-assistance     claim   on        collateral    review,     when     the

 district court can develop ‘the facts necessary to determining the

 adequacy of representation during an entire trial’ . . . than on


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 direct appeal, when ‘appellate counsel and the court must proceed

 on a trial record not developed precisely for the object of

 litigating or preserving the claim . . .”).             For this reason, plus

 the additional reasoning set forth in this Order ruling that the

 ineffective assistance of trial counsel arguments made by Cephus

 lack merit, appellate counsel was not ineffective for not raising

 them on direct appeal.



 Motions Regarding “Jury Tampering”

       Cephus first raised this issue in a Motion entitled “Motion to

 Recuse Judge for Misconduct Motion to Vacate Order of Encumbrance,”

 filed on June 30, 2014      (DE #567, p. 1).        In that motion, Cephus

 claims the following:

             Recently the Defendant learned of newly discovered
             information concerning judicial misconduct of Judge
             Lozano pertaining, but not limited to, a juror that
             was a personal acquaintance of a girlfriend of the
             defendant who was involved in a domestic dispute
             with the defendant, that Judge Lozano allowed to
             sit on the jury and is now covering.

 (DE #567, p. 2.)    He requests that this Judge recuse himself, stay

 the pending section 2255 motion, and grant an extension.                   (Id., p.

 3.)   The Court took the matter under advisement and ordered the

 Government to file a response.         (DE #579.)

       Then, in his reply brief in support of his section 2255, filed

 on July 7, 2014, Cephus argued:

             This case resolves [sic.] around the simple
             undisputed fact that a group of women, chose to

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             voluntarily become involved in prostitution and to
             seek out numerous men to provide them assistance
             for their chosen profession, that once caught
             claimed they were “victims”, that the court and its
             minions all allowed a ‘domestic squabble’ to be
             incorporated into the criminal case, one should not
             be surprised when the matter is covered up to all
             extremes by those same individuals.

 (DE #569, pp. 5-6.)

       Next, Cephus filed a “Motion for Judicial Intervention Jury

 Tampering- Obstruction of Justice,” on August 18, 2014 (DE #576).

 In it, he listed an “affidavit in support” which was not a sworn or

 signed statement, which reads as follows:

             I was recently in a meeting with my A1 team case
             manager county and discovered after a review of my
             records of the following type of information that I
             did not know; Melissa Wilson was a member of my
             jury. I did not recognize her as someone that I
             knew at the time of jury selection. She worked at
             “the Peoples Bank”, Route 30 in Sherville-
             Merriville [sic.]. She knew me through a former
             girlfriend that I had a violent ‘domestic incident’
             with. My girlfriends name was “Liz”. On several
             occasions, I went to the “Peoples Bank” where both
             “Liz” and “Melissa” worked and “Melissa” refused to
             cash my checks and forced me to leave the bank.
             She stated that I was not “welcome there” due to
             the domestic disputes with “Liz”. She swore she
             “would get even.”

 (DE #576, pp. 2-3.) This motion was taken under advisement as well

 and the Government was ordered to respond.              (DE #579.)

       Then, Cephus filed another “Motion for Judicial Intervention

 Jury Tampering-Obstruction of Justice,” on September 8, 2014 (DE

 #580).   He asks for the FBI to conduct an investigation.                  In the

 motion, he lists another “affidavit in support,” which again is not


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 a signed or sworn statement, which reads in pertinent part as

 follows:

              In the pre sentence investigation report, their
              [sic.] is a referance [sic.] to the defendants
              arrest for possession of marijuana in Ocono County,
              Wisconsin. “Liz” - Melissa in fact posted “bond”
              in that case.        This is evidence of the
              “association” in the prior motion and withheld by
              the juror in question, before this Court. A record
              of this bond being posted exists within the county
              records. The defendant will obtain that record and
              provide it to the Court.

 (DE #580, p. 2.)2    This Court took this motion under advisement as

 well, and ordered the Government to file a response brief.                   (DE

 #581.)

       The Government filed a response to these motions on September

 30, 2014 (DE #585).     Cephus then filed a reply on October 27, 2014

 (DE #592).     He continued to file duplicative motions after that.

 The Court entered a final order on October 29, 2014, allowing in an

 abundance    of   caution   Cephus’    memorandum   entitled     “Motion     for

 Schedule Order Permission to File,” which included arguments in

 support of his section 2255 motion and continued arguments about

 the alleged tainted juror (DE #597), and notifying the parties that

 the voluminous briefing on the section 2255 petition and the

 associated motions to recuse and for jury tampering was complete.

 (DE #598).

       Motion to Recuse


       2
        No such record of the alleged bond posting was ever
 provided to this Court.

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       28 U.S.C. section 144 provides that whenever a party files a

 “timely and sufficient affidavit” that the judge of the party’s

 case has a “personal bias or prejudice,” the case shall be assigned

 to a different judge.     28 U.S.C. § 144.      The bias must be personal

 rather than judicial, and “the facts averred must be sufficiently

 definite and particular to convince a reasonable person that bias

 exists; simple conclusions, opinions, or rumors are insufficient.”

 United States v. Sykes, 7 F.3d 1331, 1339 (7th Cir. 1993) (citation

 omitted).     The affidavit must show a personal bias “and that it

 stems from an extrajudicial source- some source other than what the

 judge has learned through participation in the case.”                     United

 States   v.   Balistrieri,    779   F.2d    1191,   1199   (7th    Cir.    1985)

 (citation     omitted).      “[J]udicial    rulings     alone   almost     never

 constitute a valid basis for a bias or partiality recusal motion.”

 Liteky v. United States, 510 U.S. 540, 541 (1994).

       Cephus has not met the statutory requirements.            First, Cephus

 did not file a proper affidavit - it was neither sworn nor signed.

 Second, Cephus has not shown that any alleged personal bias stems

 from an extrajudicial source.          Regarding Cephus’ assertion that

 this Court should have excused a juror who Cephus claims was an

 acquaintance of his, Cephus has provided no evidence whatsoever

 that this Court knew this alleged information (and indeed, it did

 not). To the extent Cephus complains about some of this Court’s

 rulings, that does not, in itself, constitute a reason to recuse.


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 Adverse judicial rulings alone do not establish the type of

 impermissible bias that would warrant recusal.              See 28 U.S.C. §

 455; Liteky, 510 U.S. at 555.      Therefore, the Motion to Recuse (DE

 #567) is DENIED.



       Motions For Jury Tampering - Obstruction of Justice

       Cephus claims that when reading through the trial transcript,

 he discovered that he knew a member of the jury, Melissa Wilson,

 who worked at the Peoples Bank, and was friends with his former

 girlfriend “Liz,” whom he had a “domestic squabble” with.                    (DE

 #597, p. 597, p. 2; DE #580, p. 2.)         He also claims Melissa Wilson

 hated him, and swore she would “get even” with him (DE #576, pp. 3-

 4).   Cephus also suggests that there was prosecutorial misconduct

 because of this incident, and hints that Ms. Wilson inflamed the

 jury and “manipulate[ed] the system in conspiracy-conjection with

 the prosecutor.”     (DE #569, p. 4.)

       A woman by the name of Melissa Wilson was on the jury (a fact

 anyone can read in the transcript).         During jury selection in this

 case, the prospective jurors were read the defendants’ names (Tr.

 Trans. Vol. I, DE #306, p. 26), and were introduced individually to

 each defendant by their counsel (id., p. 29). The jurors were then

 asked: “Ladies and Gentlemen, earlier today I had the attorneys

 introduce themselves and introduce their clients. First of all, do

 any of you know any of the defendants in this case?             Ever have any


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 contact with them? Meet with them?             Socialize with them?            Any

 contact of any kind?” and Ms. Wilson remained silent.                     (Id., p.

 57.)   This Court asked potential juror, Melissa Wilson, if she was

 currently employed and she replied no, but she was last employed as

 “a teller at People’s Bank in Dyer, Indiana.             Bank teller.”         (DE

 #306, pp. 94-95.)      Later during questioning, Ms. Wilson disclosed

 that   someone   she   knew   had    been   murdered    but   in   response     to

 questioning by this Court, she said she would be able to “wipe that

 incident out of [her] mind for purposes of this trial and decide

 this case only on the evidence introduced during [the] trial and

 the law.”    (Id., p. 110.)         Ms. Wilson was specifically asked by

 this Court: “As you sit here today, do you feel you can be fair and

 impartial both as to the government and as to the defendants?” and

 she responded, “[y]es, sir.”          (Id., p. 111.)      Additionally, this

 Court asked the jurors whether there was “any reason whatsoever,

 whether I have asked you about it or not, which would in any way,

 even in the slightest degree, prevent you from giving both the

 government and the defendant in this case a completely fair and

 impartial trial?” and no juror responded. (Id., p. 128.)                  Finally,

 at the close of evidence, this Court instructed the jury that

 “anything that you may have seen or heard outside the courtroom is

 not evidence and must be entirely disregarded.”               (DE #214, p. 8

 (Court’s Instruction No. 7.)).

        Although Cephus’ multiple motions are muddled procedurally,


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 the Court interprets them as requesting a new trial under Federal

 Rule of Criminal Procedure Rule 33 based upon alleged juror bias.

 A trial court has wide discretion when deciding such a motion.

 See, e.g., United States v. Jones, 707 F.2d 1169, 1173 (10th Cir.

 1983).   Additionally, the trial judge’s response to such a motion

 “must be guided by the content of the allegations, including the

 seriousness and likelihood of the alleged bias, and the credibility

 of the source.”    United States v. Perez, 841 F.Supp. 250, 253 (N.D.

 Ind. 1993) (citing United States v. Jones, 707 F.2d 1169, 1173

 (10th Cir. 1983)). The Perez Court went on stating the appropriate

 standards:

              Something more than an unverified conjecture is
              necessary to justify the grant of a new trial where
              only potentially suspicious circumstances are
              shown.   Furthermore, post-verdict orders for new
              trials based upon unproven juror bias should be
              granted only where the probability of juror bias is
              so great that in fairness it cannot be ignored.
              Finally, even where juror bias has been shown, not
              every incident requires a new trial.      The court
              must determine if the bias or prejudice amounted to
              a deprivation of Fifth Amendment (due process) or
              Sixth Amendment (impartial jury) guarantees. The
              test is whether or not the misconduct has
              prejudiced the defendant to the extent that he has
              not received a fair trial.

 Perez, 841 F. Supp. at 253 (citations and quotations omitted).

       First is the issue of waiver.         Cephus was present during jury

 selection    and   during   the   trial.     He   heard    the    juror’s     name

 repeatedly, and had the opportunity over days (it was a 10 day jury

 trial) to recognize the juror.          It is undisputed that neither he


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 nor his attorney ever made any comments to the Court about this

 juror or voiced any concerns whatsoever. If what Cephus alleges is

 true - that Melissa Wilson was friends with his former girlfriend,

 “on several occasions” at the bank refused to cash Cephus’ check

 because of a violent domestic dispute between Cephus and his

 girlfriend and promised revenge (DE #567, p. 3), and that Ms.

 Wilson also posted bond for Cephus for a previous drug charge (DE

 #580, p. 2), then the Court is at a loss as to how Cephus could not

 recognize her at trial (but then allegedly recognized her name in

 a written transcript almost 5 years after the jury trial).                By not

 bringing his alleged knowledge of this possible juror bias to the

 attention of this Court before the verdict, the Court believes

 Cephus has waived his right to a new trial.              See, e.g., United

 States v. Delatorre, 572 F.Supp.2d 967, 987 (N.D. Ill. 2008) (“A

 defendant   waives   a   claim   of    juror   misconduct    if   he     had   the

 information underlying the claim prior to the verdict and failed to

 raise it with the Court.”); United States v. Bolinger, 837 F.2d

 436, 438-39 (11th Cir. 1988); United States v. Dean, 667 F.2d 729,

 730 (8th Cir. 1982); United States v. Jones, 597 F.2d 485, 488 n.3

 (5th Cir. 1979).

       Even if this claim of juror misconduct was not waived, Cephus

 still cannot prevail.       To justify a new trial based on newly

 discovered evidence, he must satisfy the following test:

             He must show that the evidence: (1) came to his
             knowledge only after trial; (2) could not have been

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             discovered sooner through the exercise of due
             diligence; (3) is material, and not merely
             impeaching or cumulative; and (4) would probably
             lead to an acquittal in the event of a new trial.

 United States v. Gootee, 34 F.3d 475, 479 (7th Cir. 1994).                       Here,

 the Court does not believe Cephus satisfies the first prong of the

 test, because he observed the juror during trial and heard her name

 during jury selection - at the time the trial began, he had all the

 necessary information (he just claims he didn’t recognize the juror

 at the time).    See, e.g., United States v. Ellison, 557 F.2d 128,

 133 (7th Cir. 1977) (concluding the “facts alleged in support of a

 motion for a new trial were within the defendant’s knowledge at the

 time of trial” and thus not “newly discovered”). Regarding whether

 this information is material, the Court turns back to Perez which

 encourages     the   trial   judge     to   review    the     content       of     the

 allegations,    including    the   seriousness       and   likelihood       of    the

 allegations, and the credibility of the source. Perez, 841 F.Supp.

 at 253.   Here, the Court is very doubtful of Cephus’ credibility.

 His claims are unsigned and unsworn, not supported by anything

 external to the transcript, and Cephus continues to proclaim his

 innocence3 (DE #569, p. 5) and criticize the prosecutor and this

 judge despite the overwhelming evidence presented at trial of his

 guilt.    Moreover, the juror claim is unfounded and incredible.

 Finally, even assuming, arguendo, that a new trial was to be

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       For example, Cephus argues the “alleged victims ‘gamed’ the
 system financially.” (DE #569, p. 6.)

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 granted, the Court does not believe a different jury would lead to

 an acquittal given the large quantity of evidence presented and the

 graphic and compelling testimony at trial in this case.                    As the

 Seventh Circuit found on appeal, the facts were “incontestable” and

 there   was   “overwhelming   evidence      of   the    defendants’       guilt.”

 Cephus, 684 F.3d at 705, 708.      And finally, as pointed out by the

 Government, a motion for a new trial based upon “newly discovered

 evidence” must be filed within 3 years of the verdict, and Cephus

 has missed that deadline.     See Fed. R. Crim. P. 33(b)(1).              As such,

 the Court denies Cephus’ request for a new trial based upon juror

 misconduct.



 Evidentiary Hearing

       Cephus requests an evidentiary hearing on his section 2255 (DE

 #512, p. 11), as well as an investigation and hearing on the

 alleged juror misconduct issue.         Regarding the juror, the Seventh

 Circuit has ruled that due process “requires a post-trial hearing

 when there has been extraneous contacts that may have affected the

 jury’s ability to be fair, but that no post-trial hearing is

 required when the issue is preexisting juror bias.”              Perez, 841 F.

 Supp. at 253 (citing, inter alia, Artis v. Hitachi Zosen Clearing,

 Inc., 967 F.2d 1132 (7th Cir. 1992)).         This Court concurs with the

 following analysis in United States v. Piccarreto, 718 F.Supp.

 1088, 1091 (W.D.N.Y. 1989) (citations omitted):


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             Courts should be reluctant to haul jurors in after
             they have rendered a verdict and probe for
             potential   instances   of   bias,   misconduct   or
             extraneous influences.     These unnecessary post-
             verdict inquiries may lead to evil consequences:
             subjecting juries to harassment, inhibiting jury
             room deliberation, burdening courts with meritless
             applications, increasing temptations for jury
             tampering   and   creating   uncertainty   in   jury
             verdicts.


 In sum, this Court has exercised its discretion and not ordered a

 post-trial hearing.

       With regard to the requested hearing on the section 2255

 generally, an evidentiary hearing need not be held for every

 section 2255 motion. Liss v. United States, 915 F.2d 287, 290 (7th

 Cir. 1990).    “No hearing is required in a section 2255 proceeding

 if the motion raises no cognizable claim, if the allegations in the

 motion are unreasonably vague, conclusory, or incredible, or if the

 factual matters raised by the motion may be resolved on the record

 before the district court."        Oliver v. United States, 961 F.2d

 1339, 1343 n.5 (7th Cir. 1992) (citation omitted).

       Cephus has failed to offer the Court any objective facts

 outside the trial record that would warrant an evidentiary hearing.

 Moreover, the Court has concluded that the record and history of

 this case demonstrate that Cephus is not entitled to relief.

 Therefore, an evidentiary hearing is not warranted.             See Cooper v.

 United States, 378 F.3d 638, 641-42 (7th Cir. 2004) (holding

 district court did not abuse its discretion in denying evidentiary


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 hearing where defendant was not entitled to 2255 relief, and given

 lack of additional evidence from defendant).



 Appointment of Counsel

       Although Cephus has not filed a separate motion requesting

 counsel, he does ask for “appointment of counsel in his reply

 memorandum.    (DE #569, p. 6.)        The Seventh Circuit has left the

 appointment    of   counsel   in   section    2255      cases   to   the    sound

 discretion of the lower courts, and there is no right to counsel in

 section 2255 cases “unless denial would result in fundamental

 fairness impinging on due process rights.”           Winsett v. Washington,

 130 F.3d 269, 281 (7th Cir. 1997) (quoting LaClair v. United

 States, 374 F.2d 486, 489 (7th Cir. 1967)).

       Upon review of the documents filed since the inception of this

 case, there is no indication that Cephus’ due process right will be

 impinged upon should he continue to represent himself.                     In the

 instant 2255 Petition and the other briefs before this Court, it is

 clear that Cephus is fully capable of articulating his arguments

 and presenting his case without counsel.          He cites to case law and

 sets forth coherent legal arguments.          Therefore, this Court finds

 that denying Cephus’ request for counsel will not impinge on his

 due process rights, and the request is DENIED.



 Certificate of Appealability


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       Pursuant to Rule 11 of the Rules Governing Section 2255

 Proceedings, a district court must “issue or deny a certificate of

 appealability       when   it   enters    a   final    order    adverse      to    the

 applicant.”    A certificate of appealability may issue only if the

 applicant “has made a substantial showing of the denial of a

 constitutional right.”          28 U.S.C. § 2253(c)(2).          To make such a

 showing, a defendant must show that “reasonable jurists could

 debate whether (or, for that matter, agree that) the motion should

 have been resolved in a different manner or that the issues

 presented    were    adequate      to   deserve    encouragement        to   proceed

 further.”     Slack v. McDaniel, 529 U.S. 473, 475 (U.S. 2000)

 (internal quotation marks and citation omitted).

       For the reasons set forth above, Cephus has not stated any

 grounds for relief under section 2255.                The Court finds no basis

 for   a   determination     that    reasonable     jurists      would    find     this

 decision    debatable      or   incorrect     or   that   the    issues      deserve

 encouragement to proceed further.              Therefore, a certificate of

 appealability will not be issued.



 CONCLUSION

       For the reasons set forth below, the motion to recuse (DE

 #567), and motions for judicial intervention (DE #576 and DE #580)

 are DENIED.     The section 2255 motion (DE #494) is also DENIED.

 Cephus’ request for an evidentiary hearing (DE #512, p. 11), is


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 also DENIED.     Cephus’ request for counsel (DE #569, p. 6), is

 DENIED.    The Clerk is ORDERED to DISMISS this civil action WITH

 PREJUDICE. Additionally, the Court DECLINES to issue a certificate

 of appealability.     The Clerk is FURTHER ORDERED to distribute a

 copy of this order to Petitioner (Inmate Reg. No. 10106-27), Tucson

 USP, US Penitentiary, Inmate Mail/Parcels P.O. Box 24550, Tucson,

 Arizona 85734, or to such other more current address that may be on

 file for the Petitioner.




 DATED: February 4, 2015                     /s/ RUDY LOZANO, Judge
                                             United States District Court




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